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      OUR KINGDOM MINISTRY
                                       APR L 2O11
                                                 '
                                                  specifically commented on what she saw
  WEEK STARTING APRIL TT
   Song 44 and Prayer                             -the friendliness of everyone and the beau-
                                                  tiful, clean building that was constructed
  tr Congregatlon Blble Study:                    and maintained by volunteers. Therefore,
     bt chap. 2 fl8-15 (2s min.)                  all of us, not just the speaker, share in giv-
  Q Theocratlc Mlnlstry School:                   ing a witness on this most important occa-
     Blble readlng: Job 21-27 (10 min.)           sion of the year.-Eph. 4:16.
     No. 1: lob 25:1-26:14 (4 min. or less)          zWarmly Greet Visitors: Our warm
     No. 2: Why the Cross Should Not Be           smile along with a cheerful hello to visitors
     Viewed as an Object of Devotion (5 min.)     will give a witness. (John 13:35) Even if you
     No. 3: ls Jesus Christ the Same Person as    are not able to speak to everyone, you can
     Michael the Archangel?-rs p.218 fll-3        still warmly introduce yourself to people
     (5 min.)                                     near you. (Heb. L3:L,2) Be watchful for vis-
  tr Servlce Meetlng:                             itors who do not seem to know anyone.
     Song 98                                      Likely they received an invitation during
       5 mln: Announcements. lnform the con-      the campaign. You might ask, "Is this your
     gregation of the local progress being        first time here?" Invite them to sit with
     made in the Memorial invitation cam-         you, and offer to answer any questions they
     paign.
                                                  may have. If your congregation must leave
     1O mln: Sow Your Seed, and Do Not Let
                                                  quickly so that another congregation can
     Your Hand Rest. (Eccl. 11:6) Discussion
     based on the 2011 Yearbook, page 170,        use the facility, you might say: "I'd like to
     paragraph 2, to page 173, paragraph 4.       know what you thought of the program. Is
     After discussing each experience, invite au- there  away that I can contactyou?"
     dience to comment on the lessons                3 Welcome the Inactive: No doubt, in-
     learned.                                     active publishers will be present, including
     lO mln: How to Witness by Letter. Dis-       some who iimit their association with the
     cussion based on the Ministry School         congregation to their annual attendance at
     book, pages 71-73.
                                                  the Memorial. Welcome them, and let them
     1O mln; "A Powerful Witness Will Be Giv-
     en." Questions and answers.                  know that you are genuinely happy to see
     Song 8 and Prayer
                                                  them. (Rom. 15:7) Elders can go by their
                                                  home soon afterward to encourage them to
                                                  continue their association with the congre-
A Powerful Witness Will                           gation. It is our prayer that many in atten-
Be Given                                          dance will be moved to glorify God not iust
                                                  because of what they hear but also be-
  l When? On the night of the Memorial. cause of what they see 'as a result of our
Much effort has gone into inviting people fine works of which they are eyewitnesses.'
to attend with us. What visitors hear is not           Pet.2:72.
the only thing that may impress them. Af- -1,
ter attending the Memorial, one woman 2. How may each of us give a witness to visi-
                                                       tors?
1. In addition to the talk, what else may im-          3. How may we welcome those who are in-
press visitors at the Memorial? Explain.               active?
For United States of America                                             kml 1 O4-E Us Vol. 54, No. 4
                                                            P
                                           EXHIBIT #


                                           wr'          f
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    WEEK STARTING APRIL 18                                                                     School book, page 177, paragraph 2, to
     Song 17 and Prayer                                                                        the end of page 178. Include a brief dem-
                                                                                               onstration of an unbelieving workmate
     tr Congregatlon Blble Study:                                                              asking a publisher a question about our
        bt chap. 21116-23 (25 min.)                                                            beliefs. The publisher soliloquizes a men-
     D Theocratlc Mlnlstry School:                                                             tal outline of how he will respond and
       Blble readlng: lob 28-32 (10 min.)                                                      then answers the question.
       No. 1: Job 30:1 -23 (4 min. or less)                                                    lO mln: Question Box. Discussion by an
                                                                                               elder.
       No. 2: lf Someone Soys: "You Don't Be-
       fieve in fesus"-rs p.2"19 fl1-3 (5 min.)                                                lO mln: Methods of Preaching the Good
       No. 3: Why We Should Think Before We                                                    News-From House to House. Discussion
       Speak-Prov. 16:23 (5 min.)                                                              of Organized book, page 92, paragraph 3,
                                                                                               to page 95, paragraph 2. Interview one or
     0 Servlce Meetlng:                                                                        two publishers who preach from house to
         Song 54                                                                               house despite obstacles, such as physical
           5 mln: Announcements.                                                               infirmities or shyness. How have their ef-
         1O mln: When Others Demand an Ex-                                                     forts been rewarded?
         pfanation. Talk based on the Ministry                                                 Song 25 and Prayer



      QUESTTON BOX                                                                      faith" so as to withstand the trials they
                                                                                        are sure to face. (Col.2:6,7;2Tim.3:12;
      I How long should we study with a                                                 1 Pet. 5:8, 9) Additionally, to teach oth-
      prog rersive Bi ble student?                                                      ers effectively, they must have "an accu-
        It is best to continue studying with                                            rate knowledge of truth." (1 Tim. 2:4) By
      a progressive Bible student until he                                              completing two books with our students,
      has completed two publications-What                                               we are helping them attain a solid foot-
      Does the Bible Really Teach? and "Keep                                            ing on "the road leading off into life."
      Yourselves in God's Loye." This is true                                    -Matt.7:1,4.
      even if the student gets baptized be-                                        Before approving someone for bap-
      fore finishing both books.                                                              tism, elders should ensure
      After his baptism we may                                            ,_ !_-__
                                                                       r- is                  that he clearly understands
      continue to report tfie timi                                           important primary Bible teachings and
                                                                      -lt
      ll.ioil'li"^ 1',1Ti,,T$ l1l':q::"'T#"';oj:;''{,o':,,'#Xii'"!':!
                                                                       *tiliillXfi'" peciarrv carerur when con-
      ;:rln'A."if&i    fJT":;
      also count the time.-See
                                                             sidering a student who has
                                                             not yet completed the first
      the March 2OA9 Our Kingdom Ministry, study book. If someone is not ready for
      page 2.                                   baptism, the elders will make sure that
        It is important for new ones to have a he receives the necessary personal assis-
      good foundation in the truth before they tance in order to qualify for baptism in
      are left on their own. They need to be the future.-See Organized to Do leho-
      "rooted" in Christ and "stabilized in the vah's Wiil, pages 277-218.

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   WEEK STARTING APRIL25                            Theocratic Ministry School
    Song 108 and Prayer                             Review
   Q Congregatlon Blble Study:                      The following questions will be considered
     bt chap. 3 1T1-3, boxes on pp. 23-27           at the Theocratic Ministry School during the
     (25 min.)                                      week beginning April 25, 2OL1.. The school
                                                    overseer will conduct a Z0-minute review
   Q Theocratlc Mlnlrtry School:
                                                    based on material covered in assignments
        Blble readlng: Job 33-37 (10 min.)          for the weeks of March 7 through April 25,
        Theocratic Ministry School Review
        (20 min.)                                   ^OLL.
                                                     1.   In what sense was it that "many of
   O Servlce Meetlng:                                   the peoples of the land were declaring
        Song 117                                        themselves Jews"? (Esther 8:17) lw06
          5 mln: Announcements. "Use Them               3lI p.1L par. 3l
        Rather Than Store Them." Talk. lnform
                                                     2. Why was Satan allowed to enter before
        audience of any older publications that
        are overstocked in the congregation.            Jehovah? (Job 1:6; 2:1) [w06 3/15 p. 13
                                                        par. 6; it-2 p.1.6 par 4l
        3O mln: "Three Days of Spiritual Re-
        freshment." Questions and answers.           3. What is implied by Satan's question, "Is
        Discuss '2011 District Convention Re-           it for nothing thatJob has feared God"?
        minders." When considering para-                flob 1:9) lw94 lllls p. 11 par. 6l
        graph 5, call on the service overseer to     4. Why does knowing that Jehovah is
        explain local arrangements for distribut-
                                                        "wise in heart and strong in power" in-
        ing the invitations.
                                                        still confidence in us? (Job 9:4) [w07
        Song 119 and Prayer                             5/15 p. 25 par 1,6; it-Z p. L190 par. 3l
                                                     5. In what way did the statement by
Use Them Rather Than                                    Elip}:,az that a man drinks in "unrigh-
Store Them                                                teousness just like water" reflect Satanic
                                                          thinking? (Job 15:16) lw10 2lL5 p. 20
   Many congregations have accumulated a                  parc.1-21
supply of older publications. Why not ob-
                                                     6. What can we learn from Job's strong
tain copies for your personal theocratic li-            outcry that we read at Job 79:2? [w94
brary? Of course, likely you already have
access to the contents of some of these old-
                                                        n/7 p.32 pars. 1-51
er publications in Watchtower Library. How-          7. What helped Job to maintain his integ-
ever, there are benefits to having a hard copy          rity? (Job 27:5) [w09 al15 p. 6 par 17]
too. Are you studying with a progressive Bi-         8. How can we imitate Job when others
ble student? Then encourage him to obtain               have a need? (Job 29:72,13) [w02 5lt5
these older publications and begin building             p. 22 pat t9; w94 9ltl p. 24 par. 2l
his personal library. The Theocratic Ministry
School overseer should make sure that the            9. In what way was Elihu's counsel dif-
Kingdom Hall iibrary contains any older pub-            ferent from that of Job's three other
lications that the congregation has in stock.           companions? (Job 33:1, 6) [w95 2115
These publications stili have value. It is bet-           p. 29 par. 3l
ter for us to make use of them than to leave        10.   How should reflecting on Jehovah's
them at the congregation's literature coun-               wonderful works affect us? (Job 37:L4)
ter !                                                     lw06 3175 p. 16 par. 4l
kml1 O4-E Us                                                              Our Kingdom Ministry, April 2011
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                                                    (Isa. 65:13, 14) Have your arrangements
 Three Days of Spiritual                            for lodging and transportation been com-
 Refreshment                                        pleted?
   1 In this spiritually scorched land that is         3 What  will help you to keep your mind
 Satan's world, Jehovah continues to refresh       from wandering during the sessions? If pos-
 his servants. (Isa. 58:11) One provision Je-      sible, get plenty of rest each night during
 hovah uses to invigorate us is the annual         the convention. Focus your eyes on the
 district convention. As the convention for        speaker. Look up every scripture in your Bi-
 this year approaches, how may we prepare          ble. Take brief notes. Families do well to
 to receive and impart spiritual refreshment? sit together so that parents can help their
 -Prov. 2L:5.                                      children to pay close attention. (Prov. 29:
    2lf you have not already                                        L5) Perhaps you can discuss
 done so, take time now to ar-            Ar In the  past,         highlights   of the program
 range your personal and sec-          three  wceks   before       each evening as a family. So
 ular work schedules to be               the start of our          that  your family can contin-
                                      conventlon, we wlll
 present for all three days of              sharc ln a             ue to be refreshed even after
 the convention. Have you              campalgn to Invlte          the convention, time could be
 calculated the time that you            others to attcnd          allotted during your Family
 will need to travel to the con-                                   Worship evening to consider
 vention site each day so that you can ar- specific points for your family to apply.
 rive and locate seating well before the pro-         a Help Others Gain Refrerhment: We
 gram begins? We would certainly not want want others to receive spiritual refreshment
 to miss any of the invigorating spiritual too. Are there elderly publishers or others in
 meal that Jehovah has prepared for us!
                                                   3. What suggestions will help us and our fam-
 1. What can we expect to receive from this ily to benefit fully from the program?
 year's district convention?                       4. How can we help others in our congregation
 2. What preparations do we need to finalize?      to receive spiritual refreshment?

 2011 Distriet Convention                           served for them. Parking is usually limited, so
 Reminders                                          carpooling should be done to the extent pos-
                                                    sible.
 I Program Times: The program will begin at         I Seat Saving: Seats may be saved only for
 9:2O a.m. all three days. The doors will open at
                                                    those living in our home or traveling in our ve-
 8:00 a.m. When the introductory music is an-       hicle or for our current Bible students.-l Cor.
 nounced, all of us should go to our seats so       I3:5.
 thatthe program can begin in a dignified man-      I Noon Meal: Please bring a lunch rather
 ner. The program will conclude at 4:55 p.m. on
                                                    than leave the convention site to obtain a meal
 Friday and Saturday and at 3:40 p.m. on 5un-       during the noon break. A small cooler that can
 day-                                               be placed under a seat may be used. Large
 ! Parking: At all convention sites where we        family-size picnic coolers and glass containers
 control the parking, the spaces will be avail-     are not permitted in the convention facility.
 able to attendees at no charge on a first-         I Donations: We can show our appreciation
 come/ first-served basis. Only those with a        for the convention arrangements by making
 state-approved license plate or placard for the    voluntary contributions to the worldwide work
 disabled will be allowed to park in the area re-   at the convention. Any checks should be made
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the congregation who need assistance in or-
der to attend the convention? Are you in a                    How Wlll We Offer the
position to help them? (1John 3:12 18) El-
                                                              Invltatlon?
ders, especially group overseers, should see
that such publishers receive the needed as-                  In order to cover our territory, we should
sistance.                                                    be brief. We might say something like
                                                             this: "Hello. We are sharing in a global
   s Asin the past, three weeks before the
                                                             effort to distribute this invitation. Here is
start of our convention, we will share in a
                                                             your copy. You willfind more details on
campaign to invite others to attend. Congre-
                                                             the invitation." The front of the invita-
gations should set a goal to distribute their
                                                             tion is interest-arousing, so hand it to the
allotment of invitations and cover as much                   householder in such a way that he can
of their territory as possible. Invitations                  see it. Be enthusiastic. When sharing in
that your family has left over at the end of                 the distribution on the weekends, the
the campaign should be brought to the con-                   magazines should also be offered when
vention for you to use when witnessing in-                   appropriate.
formally. Further information on this will
be provided during the program on Friday.
Invitations that your family does not expect              when many people are "lovers of them-
to use while in the convention city should                selves" and show a lack of regard for the
be given to an attendant when you enter the               feelings of others, how refreshing it is to be
facility. Please keep one copy for yourself, as           around fellow Christians who endeavor to
you will need to refer to it during the last              display good manners! (2 Tim. 3:2) We
talk on Sunday.                                           show good manners by entering the build-
   6 Good Manners Refresh:
                                         At a time        ing in a calm and orderlyway when it opens
5. How will we distribute invitations to the              at 8:00 a.m. and by saving seats only for
convention? (See also the box above.)                     those living in our home or traveling in our
6. In what ways can we display good manners               vehicle or for our current Bible students. We
at the convention?                                        follow the chairman's direction when he

payable to "Christian Congregation of Jeho-               choose modest, well-fitting shoes that will al-
vah's Witnesses."                                         low one to walk safely on ramps, stairs, grat-
I Accidents and Emergencies: lf a medical                 ings, and so forth.
emergency arises at the convention site, please           I Hearing lmpalred: The program will be
contact a nearby attendant, who will immedi-              broadcast in the auditorium on an FM radio
ately notify First Aid so that our qualified first-       frequency. To receive if you will need to bring
aid personnel can assess the seriousness of the           a small battery-operated FM receiver with ear-
situation and render assistance. lf it is neces-          phones.
sary, our first-aid personnel will call 9,|1. This        r Baby Strollers and Lawn Chairs: Baby
wi | | p reve nt e m ergen cy-respo nse servi ces fro m   strollers and lawn chairs should not be brought
receiving many cell-phone calls.                          to the convention site. However, child-safety
I Medication: lf you require prescription                 seats are acceptable if they can be secured in
medication, please be sure to bring an ade-               a seat next to the parents.
quate supply with you, since none will be avail-          I Fragrances: Most conventions take place in
able at the convention.                                   enclosed areas with mechanical ventilation.
I Footwear: Each year a number of injuries                Therefore, it would be loving on our part to
occur that are related to footwear. lt is best to         limit the use of strong fragrances, colognes,
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 requests that we go to our seats to listen to                         it is to work alongside
                                                          8 How refreshing
 the rnusical interlude introducing each ses-    fellow worshippers in sacred service! Could
 sion. It shows good manners to set our cell     you volunteer to assist a department or help
 phone or pager so as not to distract others     your congregation with its cleaning assign-
 during the program. We also display good ment? (Ps. 110:3) if you do not already
 manners by not talking, texting, eating, or have a work assignment, please consider
 roaming the corridors needlessly during the approaching the Volunteer Service Depart-
 program.                                        ment at the convention. Many hands make
    7 Refreshing Associatlon: Conventions        the work ioyful and light.
 give us extended opportunities to enjoy           e Our Conduct ls Refreshing to Observ-
 our refreshing Christian unity and brother- err: We are convention delegates during
 hood. (Ps. 133:1-3) Why not                                   all three days of the conven-
 take the initiative to "widen                                 tion, not iust during the pro-
 out" and meet brothers and              Our drers and
                                       groomlng at the         gram. Those who observe us
 sisters who are present from         conventlon slte, at      whilewe    are in the convention
 other congregations? (2 Cor.             our place of         city should be able to see a re-
 6:13) You might make it a              lodglng, and at        freshing contrast between us
 goal to get to know at least         restaurantr should
                                                               and non-Witnesses. (1 Pet. 2:
                                         honor fchovah
 one new person or new fami-                                   L2) Our dress and grooming
 ly each day. The midday break                                 at the convention site, at our
 affords a good opportunity to do this. So place of lodging, and at restaurants should
 bring a light lunch and enjoy eating and as- honor Jehovah. (1 Tim. 2:9,1.0) If we wear
 sociating with others on the premises rath- our lapel badges, onlookers will be able to
 er than leaving to purchase food or to eat
 in a nearby restaurant. This may lead to the B. Why should we volunteer to work at the con-
 blessing of new and lasting friendships.        vention, and how can we do so?
                                                 9. Why should we give particular attention to
 7. How may we receive and give refreshment our conduct and appearance during the con-
 while associating with our brothers?            vention?

 and perfumes that may cause reactions in                    you will actually use, and do not have
 persons with respiratory or related problems.               more people stay in your room than what
                                                             is allowed.
 -l Cor. 10:24.                                          (2) Do not cancel your reservation except for
 ) Please Follow Up (S-a3) Forms: A Please
 Follow Up torm should be used to provide in-                an emergency situation, and notify the
 fo rm ation regard i n g any interest fro m i nformal       hotel as soon as it occurs.-Matt. 5:37.
 witnessing during the convention. Publishers            (3) Take a luggage cart only when you are
 should bring one or two forms to the conven-                ready to use it and return it immediately
 tion. Completed forms may be submitted to                   so that others may use it.
 the Book Room or given to the congrega-                 (4) Cook only in rooms where cooking is per-
 tion secretary on your return.-5ee the Novem-               mitted.
 ber 2009 Our Kingdom Ministry, page 4.                  (5) Tip hotel workers when they carry your
                                                             luggage, and leave a tip for the house-
 I Restaurants: Honor Jehovah's name by                      keeper each day.
 your fine conduct at restaurants. Leave a tip if
 this is custornary.
                                                         (6) Do not abuse any complimentary break-
                                                             fasf coffee, or ice provisions that are
 I Hotels:                                                   made available for guests to use while
  (i ) Please do not reserve more rooms than                 they are at the hotel.
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identify us asJehovah's Witnesses. This may       tions said this: "The people are very polite.
provide us with an opportunity to tell them       We're excited to have them every year." Last
about our convention and give a further           year a non-Witness lost his wallet at a hotel
witness.                                          used by convention delegates. When the
   10 How
           may we cooperate with hotel and wallet was returned to the hotel manager
restaurant workers? We should not reserve with all its contents intact, the manager
more hotel rooms than we will actually told the owner: "It was a good thing for you
use, as this prevents other delegates from that Jehovah's Witnesses were attending
obtaining rooms and makes it very dif- their convention nearby, and the hotel was
ficult for the hotel to replace the lost busi- full of them. Otherwise you would prob-
ness. If the hotel is busy at                                   ably not have had the wallet
the time that we check in or                                    returned."
check out, we should demon-              Be resolved to            12 This year's
                                         refresh othcrs                           conventions
strate patience and gracious-         through your good         are fast approaching. Much
ness. (Col.4:6) We should give          manners,loyfrrl         time and effort have gone into
the customary tip to servers at         assoclatlon, and
                                          ftnc conduct          making the program and the
restaurants and to hotel work-                                  convention environment re-
ers who caffy our bags, clean                                   freshing. Make it your aim to
our room, and provide other services.             be present all three days, and be prepared
   tt What impression does our good con- for whatJehovah and his organization have
duct during the convention make on oth- in store for you. Be resolved to refresh oth-
ers? According to a newspaper article, the ers through your good manners, joyful as-
manager of one facility used for conven- sociation, and fine conduct. Then you and
                                                  others may feel as did one of last year's del-
10. How may we ensure that hotel and restau- egates who wrote, "I cannot recall a more
rant workers have a positive view of our con- satisfying experience !
vention?                                                                 "
11. What experiences illustrate the good wit-         1.2. As the convention approaches, what
ness that results from our Christian conduct?         should be our aim, and why?

 (7) Display the fruitage of the spirit in deal-            it is standard practice for a hold to be
      ing with the hotel staff at all times. They           placed on enough funds in your account
      are caring for a large number of guests               to cover your total room cost plus any
      and appreciate our kindness, patience,                possible damages or incidentals during
      and reasonableness.                                   your stay. You will not be able to use any
 (8) The room rate shown on the Recommend-                  of those funds until your account is set-
     ed Lodging lisf is the full price per day, ex-         tled within a few days after you depart.
     cluding tax. lf you are overcharged or           I Volunteer Service: The happiness we gain
     billed for things you did not request or         from attending the convention will be even
     use, refuse these charges and inform the         greater if we volunteer to assist with the nec-
     Rooming Department at the convention             essary work involved. (Acts 20:35) Any who
     as soon as possible.                             wish to do so should report to the Volunteer
 (9) lf a problem arises with your hotel room,        Service Department at the convention. Chil-
     inform the Rooming Department while at           dren under 16 years of age can also rnake a fine
     the convention so they can assist you.           contribution by working under the direction of
(10) Please also note that if you use a debit or      a parent or guardian or other adult approved
     credit card when registering at a hotel,         by a parent or guardian.
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                                                         tion, a local needs part may be used to review con-
   WEEK STARTING MAY 2                                   vention points that the publishers have found to be
     Song 99 and Prayer                                  helpful in the ministry.
   Q (ongregatlon Blble Study:
                                                         I Beginning in May, all congregations should use
                                                         the first Saturday of each month to concentrate
     bt chap, 3 114-11 (25 min.)
                                                         on starting Bible studies. The Watchtower sefies
   Q Thcocratlc Mlnlstry School:                         "Leatn From God's Word" has been designed to
     Blble readlng: lob 38-42 (10 min.)                  help publishers do this. The back page of each is-
                                                         sue of Our Kingdom Ministry will contain sample
     No.1: Job 40:1-24 (4 min. or less)
                                                         presentations for the following month, including
     No. 2: Benefits From Being Mild-Tempered            a suggestion for starting a Bible study on the first
     and Patient (5 min.)                                Saturdav.
     No. 3: lf Someone Soys: oDo You Accept le-
     sus as Your Personal Savior?"-rs p. 2191{4-s
     (5 min.)                                            Sample Presentations
   ul Servlcc Mectlng:                                   To Start Bible Studies on the First
     Song 82                                             Saturday in May
     10 mln: Announcements. Using the sample
     presentation on this page, demonstrate how           "Have you ever wondered why God al-
                                                         lows evil and suffering? [Allow for response.]
     a study may be started on the first Saturday in
     May. Encourage all to have a share.
                                                         I would like to show you something interest-
                                                         ing on this subject." Read together the ma-
     15 mln: Local needs.                                terial under the first subheading on page 16
     10 mln: Prepare to Offer the Magazines in           of the May 1 issue of The Watchtower and
     May. Discussion. Take one or two minutes to         one of the cited scriptures. Offer the maga-
     review some of the contents of the magazines.       zines, and arrange to return to consider the
     Then choose two or three articles, and invite       answer to the next question.
     audience to suggest questions and scriptures              c..^1
     that could be used in a presentation. Demon-        *;{6TggT.-oXpRo May
                                                           ,NUfCNJgdTB'IENGM
                                                                                        l
     strate how each issue may be offered.
                                                           Read Psalm 37:70, 1.1.. Then say: "Do you
     Song 91 and Prayer
                                                         think we will see this promise come true
                                                         soon? [Allow for response.] This magazine
                                                         discusses six different Bible prophecies that
 Announcements                                    we are seeing fulfilled right now, prophecies
 I Literature offer for April and May: The Watch- that indicate that the reality of this promise
                                                  cannot be a long way off."
 tower and Awake! magazines. Where interest is
 shown, present the tract Would You Like to Know         aHc!'May
 the Tiuth? and endeavor to start a Bible study.
                                                            "Some say that humans are simply highly
 When making return visits on those who attended         evolved animals. What do you think? [Allow
 the Memorial or other theocratic events but who         for response. Then read Psalm 139:14.] Of
 are not actively associating with the congrega-         course, the psalmist had limited knowledge
 tion, concentrate on starting studies using the Bl-     of the wonders of the human body. This
 ble Teach book. June:. What Does the Bible Really       magazine discusses what we know now, in-
 Teach? Endeavor to start Bible studies on the initial
                                                         cluding what sets us apart from animals."
 call. If householders already have the book, congre-
 gations that have a stock of Knowledge That lnads
 to Everlasting Life and Worship the Only Tiue God         Field Servlce Hlghllghts
 may offer either of these books. Otherwise, offer         In November20lQ the United States reported a new all-
 any older field publications on hand in the congre-       time peak of 136,885 regular pioneers. This is an in-
                                                           crease of 188 over the previous peak in October 2010.
 gation. July: Was Life Created?                           Also, the Turks and Caicos lslands reached a new all-
 I The meeting schedule for the week preceding             time peak of 35 regular pioneers in November. Bermuda
 your district convention may be adjusted to review        had an increase of 6.1 percent in reqular pioneers over
 counsel and reminders about attending the con-            the same month last year. What a joy to see Jehovah's
                                                           people "intensely occupied with the word"!-Acts 18:5.
 vention. A month or two foilowing your conven-
                   Case 2:12-cv-01641-KDE-SS Document 85-6 Filed 05/06/13 Page 9 of 9




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